    Case 2:13-cr-00205-SM-JCW        Document 262     Filed 12/03/14    Page 1 of 5




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                              CRIMINAL ACTION

VERSUS                                                NO. 13-205

MORRIS SUMMERS                                        SECTION “E” (2)

                     ORDER AND REASONS ON MOTIONS

      This is a prosecution of 12 defendants who are allegedly members of “Ride or

Die,” which the grand jury has accused is a gang of crack cocaine dealers who employed

murder and firearms in drug trafficking. Two discovery motions filed by defendant

Morris Summers are pending before me: (1) Defendant’s Motion for Disclosure of

Confidential Informants, Record Doc. No. 256; and (2) Defendant’s Motion for Early

Disclosure of Jencks Material and Timely Disclosure of Brady/Giglio Material, Record

Doc. No. 257. While Summers is not charged with personally having committed a crime

of violence, he is charged in two conspiracy counts, including conspiracy to possess

firearms during and in relation to crimes of violence and drug trafficking. The

government filed a timely written opposition memorandum. Record Doc. No. 259.

Having considered the record, the applicable law and the written submissions of counsel,

both motions are DENIED for the following reasons.

        “What is usually referred to as the informer’s privilege is in reality the

Government’s privilege to withhold from disclosure the identity of persons who furnish
    Case 2:13-cr-00205-SM-JCW        Document 262       Filed 12/03/14   Page 2 of 5




information of violations of law to officers charged with enforcement of that law.”

Roviaro v. United States, 353 U.S. 53, 59 (1957). The privilege protects “the public

interest in effective law enforcement.” Id. By preserving the anonymity of citizens who

provide information, the privilege encourages citizens to perform their obligation of

communicating to law enforcement their knowledge of the commission of crimes, id.,

and seeks to protect them by “‘mak[ing] retaliation impossible.’” Brock v. On Shore

Quality Control Specialists, Inc., 811 F.2d 282, 284 (5th Cir. 1987) (quoting Writz v.

Cont’l Fin. & Loan Co. of West End, 326 F.2d 561, 564 (5th Cir. 1964)). The privilege

“protects more than just the name of the informant and extends to information that would

tend to reveal the identity of the informant.” United States v. Napier, 436 F.3d 1133,

1136 (9th Cir. 2006).

      In Roviaro, the United States Supreme Court “established a ‘balancing of interests’

test for determining when the informer’s privilege attaches.” Brock v. On shore Quality

control Specialists, Inc., 811 F. 2d 282, 283 (5th cir. 2004). “To determine whether

disclosure is required, we balance the government’s interest in nondisclosure against the

[defendant’s] interest in disclosure.” In re: Kleberg County, Texas, 2004 WL 75455, *3

(5th Cir. 2004) (citing Roviaro, 353 U.S. at 62). In addition, “the informer’s right to be

protected against possible retaliation” must also be considered. Brock, 811 F.2d at 283.

The Fifth Circuit has described the required balancing as a three-part test: The court


                                            2
    Case 2:13-cr-00205-SM-JCW          Document 262      Filed 12/03/14     Page 3 of 5




examines 1) the informant’s degree of involvement in the crime, 2) the helpfulness of the

disclosure to the defense, and 3) the Government’s interest in nondisclosure. United

States v. Vizcarra–Porras, 889 F.2d 1435, 1438 (5th Cir.1989), cert. denied, 495 U.S. 940

(1990).

       As with all privileges, the party seeking to overcome its protection, defendant in

this case, bears the burden of doing so, and in the context of the informer’s privilege, the

burden includes demonstrating that disclosure is “‘essential to a fair determination of a

cause.’” Kleberg County, at *3 (citing Roviaro, 353 U.S. at 60-61).

       In this instance, defendant has failed to sustain his burden of making a showing

necessary to overcome the government’s privilege. Defendant’s motion papers weakly

speculate, without support, that “the defense avers that it is likely that one or more of the

alleged drug transactions in this case involves an informant.” Record Doc. No. 256-2 at

p. 3. This kind of unsubstantiated speculation is insufficient to establish either that any

informant was a participant in the charged offenses or that disclosure would be helpful

– much less essential – to the defense. In addition, the government has a substantial

interest in nondisclosure in this case, including the interest of precluding retaliation

against any informant. The charges against defendants in this case include conspiracy

involving four murders, ten attempted murders and use of firearms in a drug trafficking

enterprise, in circumstances alleging defendant’s involvement in criminal gang activity.


                                             3
    Case 2:13-cr-00205-SM-JCW         Document 262      Filed 12/03/14    Page 4 of 5




This is a factor in the balancing test that weighs heavily against disclosure in this case.

In light of defendant’s failure to make the showing necessary to overcome the

government’s privilege, the balancing test clearly weighs against granting defendant’s

motion for disclosure of the requested information concerning informants.

       As to defendant’s request for early disclosure of Jencks Act, Brady and Giglio

materials, both 18 U.S.C. §3500(b) and Fed. R. Crim P. 26.2(a) require production of

statements fitting these categories only “[a]fter a witness . . . has testified on direct

examination” (emphasis added). While defendant is certainly correct that the court has

inherent, discretionary authority to order the early disclosure he seeks in this case, I

decline to exercise that authority, especially given the widespread, violent, extensive,

conspiratorial and organized nature of the offenses charged. For the 34 years during

which I have worked in or around this court, its judges have engaged in the salutary

practice of requiring early disclosure of these kinds of materials by including a provision

in their final pretrial orders requiring government production to defendant on the Friday

before a Monday trial.

       A status conference before the presiding district judge is currently scheduled for

December 15, 2014, Record Doc. No. 254, with the final pretrial conference scheduled

for January 7, 2015, before a March 16, 2015 trial date. Record Doc. No. 179. If the

presiding district judge, given all the circumstances of this case, determines at one of


                                            4
    Case 2:13-cr-00205-SM-JCW        Document 262     Filed 12/03/14    Page 5 of 5




those conferences that an earlier-than-usual deadline for disclosure of Jencks and/or

Brady/Giglio materials is appropriately set in this case, she may do so at that time. At

present, however, defendant has advanced no persuasive reason for the months-long early

departure from this court’s long-standing practice that he has requested.

      For all of the foregoing reasons, defendant’s motions are DENIED.

                     New Orleans, Louisiana, this      3rd     day of December, 2014.




                                                    JOSEPH C. WILKINSON, JR.
                                               UNITED STATES MAGISTRATE JUDGE




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